Case: 3:21-cv-00234-MPM-JMV Doc #: 1-1 Filed: 11/09/21 1 of 5 PageID #: 6
Case: 3:21-cv-00234-MPM-JMV Doc #: 1-1 Filed: 11/09/21 2 of 5 PageID #: 7
Case: 3:21-cv-00234-MPM-JMV Doc #: 1-1 Filed: 11/09/21 3 of 5 PageID #: 8
Case: 3:21-cv-00234-MPM-JMV Doc #: 1-1 Filed: 11/09/21 4 of 5 PageID #: 9
Case: 3:21-cv-00234-MPM-JMV Doc #: 1-1 Filed: 11/09/21 5 of 5 PageID #: 10
